

ORDER

PER CURIAM:
AND NOW, this 5th day of February, 1996, Neil I. Stemstein having been suspended from the practice of law in the State of New Jersey for a period of three months by Order of the Supreme Court of New Jersey dated July 5, 1995; the said Neil I. Stern-stein having been directed on November 13, 1995, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Neil I. Stemstein is suspended from the practice of law in this Commonwealth for a period of three months, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
